      Case 8-23-73858-ast        Doc 41     Filed 04/21/25     Entered 04/21/25 11:12:04




                                                           kp/ca
 UNITED STATES BANKRUPTCY COURT                            May 8, 2025
 EASTERN DISTRICT OF NEW YORK                              11:00 AM
 ==================================X
 IN RE:                                                    Case No. 823-73858-AST

 MICHAEL ARYEH                                             Hon. ALAN S. TRUST
 fka MICHAEL HAYMOV

                                                   NOTICE OF MOTION
                  Debtor.
 ==================================X
           PLEASE TAKE NOTICE, that upon the within application, Krista M. Preuss, Chapter
13 Trustee will move this court before the Hon. Alan S. Trust, Chief U.S. Bankruptcy Judge, for
the Eastern District of New York, on the 8th day of May, 2025 at 11:00 AM, or as soon thereafter
as counsel can be heard, for an order pursuant to 11 U.S.C. 1307(c)(6) dismissing this Chapter
13 case and for such other and further relief as may seem just and proper.


               Any hearing on the attached application will be held remotely, by telephone
or video conference. No in-person hearing will be held in the Courthouse on the date set
forth above.
               Any party appearing must register at least two (2) business days in advance
through eCourt Appearances at https://ecf.nyeb.uscourts.gov/cgi-bin/nyebAppearances.pl. Only
parties registered in advance will receive login instructions. Additional information is provided in
the Chief Judge’s procedures at https://www.nyeb.uscourts.gov/content/chief-judge-alan-s-trust.


               Responsive papers shall be filed with the bankruptcy court and served upon the
Chapter 13 Trustee, Krista M. Preuss, Esq., no later than seven (7) days prior to the hearing date
set forth above.   Any responsive papers shall be in conformity with the Federal Rules of
Bankruptcy Procedure and the Local Bankruptcy Rules for the Eastern District of New York, and
indicate the entity submitting the response, the nature of the response and the basis of the
response.

Date: Jericho, New York
      April 21, 2025
                                                     /s/ Krista M. Preuss
                                                     Krista M. Preuss, Chapter 13 Trustee
                                                     100 Jericho Quadrangle - Suite 127
                                                     Jericho, NY 11753
                                                     (516) 622-1340
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                                                          kp/ca
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 IN RE:                                                   Case No: 823-73858-AST

 MICHAEL ARYEH                                            Hon. ALAN S. TRUST
 fka MICHAEL HAYMOV

                                                          APPLICATION
                  Debtor.
 ==================================X


TO THE HONORABLE ALAN S. TRUST, CHIEF U.S. BANKRUPTCY JUDGE:

       KRISTA M. PREUSS, Chapter 13 Trustee in the above-captioned estate, respectfully
represents the following:

       1. The Debtor commenced this Chapter 13 case by filing a voluntary petition on October
17, 2023.

        2. The current monthly plan payment amount is $420.84. The total amount due under the
plan, through and including April 2025 is $7,575.12. To date, the Trustee has received $6,312.60.
Therefore, the Debtor has defaulted under the terms of the plan and is $1,262.52 in arrears to the
Trustee.

       3. No prior application seeking the relief requested herein has been filed by the Chapter
13 Trustee.

       4. The foregoing represents a material default by the Debtor with respect to the terms of
the confirmed plan and constitutes cause to dismiss this Chapter 13 case within the meaning of
11 U.S.C. Section 1307(c)(6).

       WHEREFORE, the Chapter 13 Trustee respectfully requests that this Court enter an order
dismissing this Chapter 13 case and such other and further relief as may seem just and proper.

 Date: Jericho, New York
       April 21, 2025



                                                            /s/Krista M. Preuss
                                                            KRISTA M. PREUSS, TRUSTEE


PAYMENT ADDRESS ONLY:
Krista M. Preuss, TRUSTEE
PO BOX 2178
MEMPHIS, TN 38101-2178
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X   Case No: 823-73858-AST
IN RE:

 MICHAEL ARYEH
 fka MICHAEL HAYMOV

                                                                        CERTIFICATE OF NOTICE

                                       Debtor.
-----------------------------------------------------------X
                    I, Claudia Aufiero, declare under penalty that I have sent the attached documents
to the below listed entities in the manner shown, and prepared the Certificate of Notice and that
it is true and correct to the best of my information and belief.

Notice by first class mail was sent to the following persons/entities:

MICHAEL ARYEH
537 ALBEMARLE ROAD
CEDARHURST, NY 11516

BMW FINANCIAL SERVICES NA, LLC,
C/O AIS PORTFOLIO SERVICES, LLC
4515 N SANTA FE AVE. DEPT. APS
OKLAHOMA CITY, OK 73118

Notice by electronic transmission generated by the ECF system to the following
person/entities pursuant to Bankruptcy Rule 9036:

ERICA T. YITZHAK, ESQ.
erica@etylaw.com


Transmission times for electronic delivery are Eastern Time zone.




This April 21, 2025

/s/Claudia Aufiero
Claudia Aufiero, Paralegal
Office of the Standing Chapter 13 Trustee
Krista M. Preuss, Esq.
100 Jericho Quadrangle; Suite 127
Jericho, NY 11753
(516) 622-1340
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CASE NO: 823-73858-AST
Hon. ALAN S. TRUST

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
========================================================================
IN RE:

MICHAEL ARYEH
fka MICHAEL HAYMOV


                  Debtor.
=======================================================================

            NOTICE OF MOTION AND APPLICATION TO DISMISS CASE

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                               Krista M. Preuss, Trustee
                          100 Jericho Quadrangle - Suite 127
                                   Jericho, NY 11753
                                    (516) 622-1340
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